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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES                               NO. 2:20-cr-00045-GAM

                                             JUDGE MCHUGH

               v.

 ABDUR RAHIM ISLAM
 SHAHIED DAWAN
 KENYATTA JOHNSON
 DAWN CHAVOUS

                       Defendants


                                    [PROPOSED] ORDER

       AND NOW, this _____ day of _______________, 2022, upon consideration of Defendant

Kenyatta Johnson’s Motion to File Under Seal His Response in Opposition to Government’s

Motion in Limine to Admit Certain Evidence in Phase One of the Bifurcated Trial Under Either

Rule 402 or Rule 404(b) of the Federal Rules of Evidence, it is hereby ORDERED that the Motion

is GRANTED. Defendant Kenyatta Johnson’s Response in Opposition to Government’s Motion

in Limine to Admit Certain Evidence in Phase One of the Bifurcated Trial Under Either Rule 402

or Rule 404(b) of the Federal Rules of Evidence and the attached exhibits SHALL BE FILED

UNDER SEAL.



                                                  BY THE COURT:


                                                  ______________________________
                                                  Honorable Gerald Austin McHugh
                                                  U.S. District Court Judge
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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES                               NO. 2:20-cr-00045-GAM

                                             JUDGE MCHUGH

                v.

 ABDUR RAHIM ISLAM
 SHAHIED DAWAN
 KENYATTA JOHNSON
 DAWN CHAVOUS

                        Defendants

              DEFENDANT KENYATTA JOHNSON’S MOTION
           TO FILE UNDER SEAL HIS RESPONSE IN OPPOSITION
        TO GOVERNMENT’S MOTION IN LIMINE TO ADMIT CERTAIN
       EVIDENCE IN PHASE ONE OF THE BIFURCATED TRIAL UNDER
   EITHER RULE 402 OR RULE 404(B) OF THE FEDERAL RULES OF EVIDENCE

       Defendant Kenyatta Johnson (“Councilmember Johnson”), by and through his undersigned

counsel, hereby moves to file under seal his concurrently submitted Response in Opposition to

Government’s Motion in Limine to Admit Certain Evidence in Phase One of the Bifurcated Trial

Under Either Rule 402 or Rule 404(b) of the Federal Rules of Evidence and its accompanying

exhibits, attached hereto as Attachment 1. In support of this motion, Councilmember Johnson

respectfully states as follows:

       1.      On January 28, 2020, the Government filed a twenty-two-count racketeering

Indictment against Defendants Abdur Rahim Islam, Shahied Dawan, Dawn Chavous, and

Councilmember Johnson (ECF No. 1). Only two of the twenty-two counts in the Indictment

pertain to Councilmember Johnson and/or his spouse, Ms. Chavous. Those are counts Nine and

Ten, which charge all four Defendants with honest services wire fraud under 18 U.S.C. §§ 1343

and 1346.



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        2.       On February 7, 2020 the Count issued a Protective Order limiting disclosure of

materials produced by the Government in discovery (ECF No. 26).

        3.       On January 29, 2021, the Court ordered that counts Nine and Ten are severed from

the remaining counts and will be tried separately (ECF 77).

        4.       On January 7, 2022, the Court ordered that trial on counts Nine and Ten will

commence on March 21, 2022 (ECF 148).

        5.       On January 4, 2022, the Government filed a Motion in Limine to Admit Certain

Evidence in Phase One of the Bifurcated Trial Under Either Rule 402 or Rule 404(b) of the Federal

Rules of Evidence (ECF No. 130) (the “Motion to Admit”).

        6.       Councilmember Johnson has prepared a response in opposition to the Motion to

Admit (the “Opposition”).

        7.       The Opposition attaches, quotes, and otherwise references certain material covered

by the Protective Order.

        8.       The Opposition also attaches, quotes, and otherwise references certain material

protected from disclosure by Rules 6.1(c)(2) and 6.1(c)(4) of the Local Criminal Rules of the

United States District Court for the Eastern District of Pennsylvania.1

        WHEREFORE, Councilmember Johnson respectfully requests that the Court enter an

Order in the form submitted herewith directing that Defendant Kenyatta Johnson’s Response in

Opposition to Government’s Motion in Limine to Admit Certain Evidence in Phase One of the

Bifurcated Trial Under Either Rule 402 or Rule 404(b) of the Federal Rules of Evidence and the

attached exhibits be filed under seal.




1
 Councilmember Johnson filed a public version of the Opposition via CM/ECF earlier today (ECF No. 159). In that
version of the Opposition, the material protected from disclosure is redacted.

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Dated: January 18, 2022            Respectfully submitted,


                                   /s/ Patrick J. Egan
                                   Patrick J. Egan
                                   Nathan Huddell
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                                   Attorneys for Defendant Kenyatta Johnson




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                                CERTIFICATE OF SERVICE

       I, Patrick Egan, hereby certify that on this day, I caused the foregoing to be filed

electronically with the Case Management/Electronic Case Filing System (“CM/ECF”) for the

Federal Judiciary. Notice of this filing will be sent to all parties by operation of the Notice of

Electronic Filing system, and the parties to this action may access this filing through CM/ECF.


Dated: January 18, 2022                             /s/ Patrick J. Egan
                                                    Patrick J. Egan
